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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF INDIANA
                                HAMMOND DIVISION

JOHN DOE,                                                              )
                                                                       )       CIVIL ACTION
               Plaintiff,                                              )
v.                                                                     )
                                                                       )
PURDUE UNIVERSITY, PURDUE UNIVERSITY                                   )
BOARD OF TRUSTEES, MITCHELL ELIAS                                      )
DANIELS, JR., in his official capacity as President of                 )
Purdue University, ALYSA CHRISTMAS ROLLOCK,                            )       No. 2:17-cv-33-JPK
in her official capacity at Purdue University, KATHERINE               )
SERMERSHEIM, in her official capacity at Purdue University,            )
                                                                       )
               Defendants.                                             )

                  PLAINTIFF JOHN DOE’S MEMORANDUM OF LAW
                     IN OPPOSITION TO DEFENDANTS’ MOTION
               TO DISMISS PLAINTIFF’S TITLE IX INJUNCTIVE RELIEF

       Plaintiff John Doe (“John”) respectfully submits this Memorandum of Law in opposition

to Defendants’ motion to dismiss John’s Title IX injunctive relief requests, a motion that is

essentially duplicative of Point 2 in Defendants’ March 21, 2023 Motion in Limine for Exclusion

of Inadmissible Facts, Contentions & Arguments (DE 235), which was opposed on April 4, 2023

by John (DE 242). Per the law and the Seventh Circuit’s governing decision in this case, Doe v.

Purdue, 938 F.3d 652 (7th Cir. 2019), John’s Complaint seeks, for the alleged Title IX violations,

damages and “an injunction vacating John Doe’s disciplinary findings and decision, granting

expungement of the disciplinary record from John Doe’s school records at Defendant Purdue,

ordering the ending of the suspension subject to any readmission requirements” (DE 160, pp. 63-

64). John has never withdrawn or disavowed that demand for relief; the Pre-Trial Order had a

section for fact contentions for liability, but not a section for relief sought; that Defendants try to

make use of the Pre-Trial is bizarre when Defendants, without leave, sought last November to

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insert a new exhibit list that contained unrecognizable documents (DE 287). In any event, the

Seventh Circuit decided standing in John’s favor – a point that discredits Defendants’ whole

motion.

    1. Defendant’s Current Moton (DE 274) Is Essentially Point 2 Of Defendants’ March
       21, 2023 Motion To Exclude (DE 235) As To Which The Seventh Circuit Decision
       Governs and That Decision Directs That Expungement Be Addressed.

       Defendants’ motion involves a repeat of Point 2 in Defendants’ March 21, 2023 Motion in

Limine for Exclusion of Inadmissible Facts, Contentions & Arguments (DE 235); and so, John’s

opposition here should begin with what was stated in his opposition to Point 2 in Defendants’

March 21, 2023 Motion in Limine for Exclusion of Inadmissible Facts, Contentions & Arguments

(DE 235):

       Purdue seeks to exclude argument concerning the content of disciplinary records or
       expungement. (Df. Mem. 2.) While during the course of trial, it will naturally come
       up that there is a disciplinary file and what it contained because of what was sent
       to the Navy ROTC, argument to the Court concerning expungement of disciplinary
       records will follow a jury verdict. What the Court should do is not allow Purdue to
       argue that John is out only for money damages, which is what Purdue counsel
       falsely asserted in oral argument to the Seventh Circuit. Injunctive relief is critically
       important in this case, Judge Barrett’s opinion is clear in upholding injunctive relief
       for the Title IX claim, 928 F.3d at 670, and that injunctive relief includes
       expungement, 928 F.3d at 667. At oral argument, all the Seventh Circuit judges on
       the panel expressed belief that injunctive relief was available and John was
       appropriately seeking injunctive relief.
(DE 242, pp. 2-3.)

       In fact, Judge (now Justice) Barrett’s opinion for the Seventh Circuit states: “we instruct

the court to address the issue of expungement on remand.” 928 F.3d at 667. Yet, Defendants

return to an argument that was rejected by the Seventh Circuit and seek to have the Title IX

injunctive relief dismissed, which at bottom is a ploy to avoid Judge (now Justice) Barrett’s

directive that the District Court is to address the issue of expungement. Defendants’ motion based

on “standing” should be denied as utterly without merit, at odds with the Seventh Circuit decision

                                                  [2]
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in this case. Accompanying this Memorandum of Law as Exhibit A is a copy of the Seventh

Circuit opinion.

   2. The Issue of Standing Was Litigated and
      Decided In John’s Favor By The Seventh Circuit.

        Defendants (i) assert John’s case does not meet the case or controversy requirements (as

if the Seventh Circuit had not rejected Defendants’ argument); (ii) quote the Second Amended

Complaint demanding injunctive relief as part of the remedy for the alleged Title IX violations;

and (iii) quote the Defendants’ statement in the Pre-Trial Order denying Plaintiff’s standing for

injunctive relief (as if the Seventh Circuit had not already instructed the District Court to address

expungement, the most important injunctive relief sought in the case), (DE 274, pp. 2-3)

Defendants then argue the issue at length as if standing had not been litigated before. But it had

been.

        The issue of John’s right to prospective injunctive relief was a prominent subject in

appellate briefs of the parties to the Seventh Circuit, and the issue was decided in John’s favor.

        John’s main Appellant Brief stated as the first issue in the Summary of Argument:

                I. Prospective Injunctive Relief. The Magistrate Judge erred in ruling,
        contrary to this Court’s precedent in Elliott v. Hinds, 786 F.2d 298, 302 (7th Cir.
        1986), that a suspended student who has lost a Navy ROTC scholarship, has a
        transcript disciplinary mark and is subject to reinstatement requirements is not
        experiencing continuing adverse effects to justify prospective injunctive relief for
        constitutional due process and Title IX claims.

(John’s Appellant Brief, p. 18.)

        John’s main Appellant Brief explains:

        Prospective injunctive relief -- here, elimination of the transcript disciplinary mark
        and the readmission requirements and reinstatement of John’s Navy ROTC
        scholarship -- is available in this case for the constitutional due process and Title
        IX claims pleaded in the Complaint. The Magistrate Judge erred in ruling
        otherwise.



                                                 [3]
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       Prospective injunctive relief -- here, elimination of the transcript disciplinary mark
       and the readmission requirements and reinstatement of John’s Navy ROTC
       scholarship -- is available in this case for the constitutional due process and Title
       IX claims pleaded in the Complaint. The Magistrate Judge erred in ruling
       otherwise.
       A. John Has Standing For Prospective Injunctive Relief.

       The Magistrate Judge invoked the “case or controversy” requirement of Article III
       of the Constitution: “‘[t]o have standing for prospective injunctive relief, a plaintiff
       must face a real and immediate threat of future injury as opposed to a threat that is
       merely conjectural or hypothetical.’ Simic v. City of Chicago, 851 F.3d 734, 738
       (7th Cir. 2017).” (BA 11.)

       John has standing for prospective injunctive relief. The Complaint states:

               John Doe continues to suffer ongoing harm, including damages to
               his reputation and other non-economic and economic damages. In
               particular, suspension from Defendant Purdue denied him the
               benefits of education at his chosen school and also damaged John
               Doe’s academic and professional reputation. John Doe’s lifelong
               goal of becoming of a naval officer and serving his country has been
               shattered.
       (A 59.) To remedy this harm, John seeks, inter alia, injunctive relief for the due
       process and Title IX violations. (A 60, 69, 73-74.) John faces a real and immediate
       threat of future injury from “ongoing harm”: he is a suspended student with a
       transcript disciplinary record of sexual misconduct, subject to requirements for
       readmission and suffering a loss of a Navy ROTC scholarship. (A 8-9, 34-35, 49-
       50, 53-54, 59-60, 69.) John is not faced with conjectural or hypothetical or past
       injury; life altering harms are visited upon wrongly disciplined males in these
       campus sexual misconduct tribunals. John has a sexual misconduct finding on
       record and is not able to pursue a career as a Navy officer; for other males, it is
       having a sexual misconduct finding on record and not being admitted to medical
       school or losing a job opportunity at an investment bank. In contrast, what Simic
       holds is that a claim of injury from possibly receiving a ticket in the future for
       texting while driving in violation of a city ordinance was conjectural.
(John’s Appellant Brief, pp. 19-20.) Accompanying this Memorandum of Law as Exhibit B is a

copy of Plaintiff John’s Appellant Brief to the Seventh Circuit.

       Defendants argued in its Appellee Brief that John lacked standing. (Dfs. Appellee Br.

29-32.) John responded in his Reply Brief:


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                Defendants wrongly attack John’s standing to obtain prospective injunctive
       relief. (Appellee Br. 29-32.) While Defendants confine its standing attack on John’s
       ability get an injunction under Ex Parte Young, 209 U.S. 123 (1908), here, as
       discussed in John’s Appellant Brief (pp. 19-25), prospective injunctive relief in the
       elimination of the transcript disciplinary mark, elimination of the readmission
       requirements and reinstatement of John’s Navy ROTC scholarship is available to
       remedy the harms from both the constitutional due process and Title IX claims.

               That John has standing for prospective injunctive relief should not be in
       dispute. John faces a real and immediate threat of future injury from “ongoing
       harm” and rightly seeks relief from “continuing, present adverse effects,” City of
       Los Angeles v. Lyons, 461 U.S. 95, 102 (1983): John is a suspended student with a
       transcript disciplinary record of sexual misconduct, subject to requirements for
       readmission and suffering a loss of a Navy ROTC scholarship. (A 8-9, 34-35, 49-
       50, 53-54, 59-60, 69.) John is not faced with conjectural or hypothetical or past
       injury; life altering harms are visited upon wrongly disciplined males in these
       campus sexual misconduct tribunals.
(John’s Reply Brief. p.17.) Accompanying this Memorandum of Law as Exhibit Cis a copy of

Plaintiff John’s Reply Brief to the Seventh Circuit.

       The first Magistrate on the case (Cherry, M.J.) adopted Defendants’ arguments and

dismissed the case. The Seventh Circuit reversed, ruled that injunctive relief is proper, 928 F.3d

at 670, and directed the District Court to address expungement. 928 F.3d at 667, 670. Defendants

are re-hashing old arguments already rejected by the Seventh Circuit under the guise that injunctive

relief is tethered to the due process claim – a notion rejected by the Seventh Circuit, 952 F.3d at

Defendants nevertheless persist with lengthy, elaborate arguments for denying standing, which

should be considered an effort to avoid the merits of this case.

       3. Defendants’ Mootness Arguments Are Without Merit.

       Defendants argue mootness, but the fact that John should not have been suspended remains

highly relevant and is not moot. That John survived the suspension is to his credit, but it is not

germane to his standing to sue to remedy the wrongful suspension. There is nothing moot about

John’s case; he is continuously damaged and is entitled to relief from the effects of the wrongful

suspension, which includes having a permanent federal record. There is nothing moot about John’s

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injunctive relief requests; Defendants just have been committed to fighting Judge (now Justice)

Barrett’s opinion and its directive to address expungement. While expungement does not change

the fact that John has served the suspension, it does free John from ongoing disclosure

requirements to employers (including the federal government) and schools other than Purdue,

provides the basis for eliminating what otherwise will be a permanent federal record showing a

suspension for sexual misconduct, and makes possible future opportunities that would otherwise

be cut off by the disclosure of (an albeit erroneous) sexual misconduct sanction. Defendants are

being “cute” in not recognizing the deleterious effects of a suspension for alleged sexual

misconduct.

       Defendants’ argument that there is a question about John’s standing due to the passage of

time is as cynical and as wrong as can be. The fact that Defendants engaged in scorched earth

litigation (e.g., Defendants deposed John’s parents and John’s mental health counselor and

Defendants demanded and got all of John’s post-suspension social media posts – which Defendants

never used) and that the litigation has been as a result prolonged does not deprive John of standing

or make his litigation with Defendants moot.

       Defendants’ argument about re-enrollment (p. 7 n.1) ignores the point that the Second

Amended Complaint (DE 160, ¶ 82) alleges that John intends to re-enroll and confirmed that

intention in his deposition; the issue has been remedied.. Otherwise, Defendants would have made

an issue of it in their summary judgment motion (DE 183), which they didn’t. John also needed

the Navy ROTC scholarship and Presidential Scholarship to afford Purdue; Defendants’ glib talk

of John’s ability to re-enroll cynically ignores John’s limited financial resources as well as the

conditions placed on John’s re admission that gave Defendants discretion whether to re-admit.-

       The cases cited by Defendants are way, way off point. Defendants quote language totally

out of context; the facts of those cases make plain those cases cannot be applied here.

                                                [6]
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       UMW Student Ass’n v. Lovell, 888 F.3d 854 (7th Cir. 2018), a student association and

current and former students at a state university brought putative class action in state court against

university's board of regents, rival student association, university administration officials, and

other students alleging that the administration violated federal constitutional and state law by

unseating their legitimately elected officers and replacing them with supposedly “puppet” student

government. What the District Court ruled and the Seventh Circuit affirmed was moot was the

students’ claim that the administrators violated their right to organize under state law. This case

arose from a long-running feud between rival student governments at the University of Wisconsin-

Milwaukee, commonly known as UWM. Plaintiffs alleged a wide-ranging conspiracy to interfere

with student governance and were criticized for “clumsy” efforts to pursue an “unmanageable

complaint with 44 plaintiffs suing 37 defendants for claims spanning several years of student

politicking.” 888 F.3d at 856. Mootness stemmed from the requested injunctive and declaratory

relief not providing redress for the alleged injuries. In regards to that case, there is no remote

resemblance here.

       In United States v. Parole Commission v. Geraghty, 445 U.S. 38ere8 (1980), the U.S.

Supreme Court said that the requisite personal injury must exist at the commencement of the suit

continue throughout its existence, but held in that case that an action brought on behalf of a class

does not become moot upon expiration of the named plaintiff's substantive claim, even though

class certification has been denied; and (2) the named plaintiff, a former federal prisoner, could

continue to appeal the District Court's ruling denying class certification even though he was

released from prison while the appeal was pending.

       Hero v. Lake Cty. Election Bd., 561 F.Supp.3d 786 (N.D. Ind. 2021), a prospective political

candidate brought an action under 42 U.S.C. § 1983 against a county election board, alleging

deprivation of his First and Fourteenth Amendment rights concerning his being barred in the past

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from seeking office, and seeking a declaratory judgment and injunctive relief allowing his future

candidacy. The suit was dismissed for lack of present injury, the Court noting that the plaintiff

was not seeking damages for past denials of being a candidate. In the context that the Court

referred to the need for present injury. Similarly, the two Supreme Court cases cited in Hero v.

Lake Cty. Election Bd., were ones in which the Supreme Court, in fact situations far afield from

this case, found no immediate threat of injury. In City of Los Angeles v. Lyons, 461 U.S. 95 (1983),

the Court stated that the plaintiff might have been illegally choked by police, but that did not

establish real and immediate threat that he would again be stopped for traffic violation or for any

other offense by officer or officers who would illegally choke him to justify injunctive relief

governing future police conduct toward plaintiff. In O’Shea v. Littleton, 414 U.S. 488 (1974),

plaintiffs sought injunctive relief against an alleged pattern and practice of conduct consisting of

illegal bond setting, sentencing, and jury fee practices in criminal cases.

       4. The Dismissal of Defendants’ Legally Defective Counterclaim Is No Basis for
          Claiming (Quite Erroneously)There Is No Pending Claim To Exonerate John._

       Defendants argue there is no pending claim for exoneration. Not accurate. Establishing

that a suspension was based on sexual discrimination, which will be supported by, among other

things, proof of John’s innocence of the ill-founded charges of sexual misconduct, would be

exoneration.

       Defendants base their argument on the dismissal of Defendants’ Amended Counterclaim

(DE 224). That Amended Counterclaim was, however, totally defective as a matter of law, as

explained in John’s motion to dismiss it:

       Defendants’ Amended Counterclaim (ECF 161) purports to be an action for a
       declaratory judgment pursuant to 28 U.S.C. § 2201 and Title IX of the Education
       Amendments of 1972, but it contains no allegations supporting federal court subject
       matter jurisdiction. There are at least three fatal defects as a matter of law requiring
       dismissal of Defendants’ Amended Counterclaim.


                                                 [8]
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      A.       Defendants Are Seeking Declarations Impermissibly Based on State
      Law or Are Contrary to the Law of the Case. The first fatal defect is that the
      Amended Counterclaim mostly seeks to invoke what are state law police powers;
      three of the four requested declarations involve state law police powers; and the
      one requested declaration that is not state law based is at odds with the law of the
      case in Doe v. Purdue, 928 F.3d 652. The Amended Counterclaim seeks: (i) to
      “[d]eclare John Doe’s conduct violated Purdue University’s conduct regulations”;
      (ii) to “[d]eclare that Purdue University, in the exercise of its discretionary authority
      as an instrumentality of the State of Indiana to police the safety of its campus, has
      at all relevant times possessed good and adequate cause to suspend John Doe from
      enrollment at Purdue University”; (iii) to “[d]eclare that Purdue University, in the
      exercise of its discretionary authority to protect its educational environment from
      interference with its educational mission, has at all relevant times possessed good
      and adequate cause to exclude John Doe from Purdue University’s educational
      environment”; and (iv) to “[d]eclare that there is no Purdue-imposed stigma on John
      Doe’s occupational liberty for Navy ROTC enrollment or a career in the United
      States Navy.” (SJM 3: ECF 161, Defendants’ Answer to Plaintiff’s Second
      Amended Complaint and Amended Counterclaim, pp. 64, 64.) The first three
      requested declarations are state law based and do not involve application of Title
      IX. It is not the federal court’s role to determine independently and declare that
      conduct violated the university’s student code and that the university had the basis
      to suspend a student from campus; the federal court’s role is to determine whether
      the university took actions that were in violation of federal due process and
      constituted federally prohibited discrimination. The fourth declaration seeks a
      ruling denying John Doe has a stigma-plus liberty interest that Judge Barrett’s
      opinion in Doe v. Purdue, 928 F.3d at 661-663, specifically ruled John Doe had.

      B. Denial of Due Process Precludes Defendants’ Amended Counterclaim The
      second fatal defect is that the denial of due process precludes Defendants’ Amended
      Counterclaim. Indisputably, Defendants during the disciplinary case did not give
      access to John Doe to the evidence used against him, did not give John Doe access
      to the investigation report, did not give a real hearing and engaged in pre-judgment
      based on accusation -- which have already been ruled in the law of the case to be
      denials of due process. Doe v. Purdue, 928 F.3d at 663 664. The denial of due
      process here invalidates any effort to rely upon the university process for the
      purported declaratory relief. See Marshall v. Jerrico, Inc., 446 U.S. at 242.
      C. The Case Law in The Seventh Circuit Establishes That Defendants’
      Amended Counterclaim Should Be Dismissed as a Misuse of the Declaratory
      Judgment Act. The third fatal defect to Defendants’ Amended Counterclaim is that
      under the case law in the Seventh Circuit, Defendants’ declaratory judgment-based
      Amended Counterclaim is legally defective and should be dismissed because it “is
      repetitious and unnecessary . . . [and] merely restates an issue already before this
                                                 [9]
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      Court.” U.S. v. Zanfei, 353 F.Supp.2d 962, 965 (N.D. Ill. 2005) (quoting Rayman
      v. Peoples Savings Corp., 735 F.Supp. 842, 851–52 (N.D.Ill.1990); accord, the
      decision of Judge William J. Bauer, subsequently of the Seventh Circuit, in Green
      Bay Packaging, Inc. v. Hoganson & Assoc., Inc., 362 F.Supp. 78 (N.D.Ill. 1973) (a
      defendant’s declaratory judgment counterclaim dismissed because it sought rulings
      on claims a plaintiff “asserted in his complaint but with the opposite effect”).
      Preserved in John Doe’s First Affirmative Defense to Defendants’ Amended
      Counterclaim was the failure of the Counterclaim to state a claim upon which relief
      may be granted. (SJM 4: ECF 162, Plaintiff’s Answer to Counterclaim, p. 6.)
      Defendants’ Amended Counterclaim is similar to the dismissed counterclaims in
      Zanfei and Green Bay Packaging because it mirrors John Doe’s claims except that
      Defendants seek the opposite effect. John Doe seeks rulings finding Defendants
      violated his due process and Title IX rights in Defendants’ application of Purdue’s
      student conduct policies. Defendants’ Amended Counterclaim seeks the opposite:
      Defendants want this Court to “[d]eclare” John Doe violated Purdue’s conduct
      regulations and find Defendants had good and adequate cause to exclude John Doe
      from campus. Sarks Café, Inc. v. Sarks In the Park LLC, 55 F.Supp.3d 1034, 1037-
      38 (N.D.Ill. 2014), Saporito v. Carr, 684 F.Supp.2d 1043, 1063 (N.D.Ill. 2010),
      and Ortho-Tain Inc., v. Rocky Mountain Orthodontics, Inc., 2006 WL 3782916, at
      *3 (N.D.Ill. Dec. 20, 2006), and Manago v. Auto-Owners Ins. Co., 2018 WL
      620381 (N.D. Ind. Jan. 30, 2018), provide four additional examples of why
      Defendants’ declaratory judgment-based counterclaim should be dismissed as a
      matter of law. The counterclaim in Sarkis Café was dismissed because it was
      “duplicative” of the plaintiff’s claims and “serve[d] no useful purpose” since any
      “uncertainty” regarding the controversy between the parties was “alleviated” and
      “ripened” by the plaintiff’s lawsuit. 55 F.Supp.3d at 1038. Likewise, Saporito, 684
      F.Supp.2d at 1063, ruled that 28 U.S.C. § 2201 prohibited a defendant from using
      a counterclaim to obtain “rul[ings] on what are in effect [defendant’s] defenses” to
      the plaintiff’s claims. Saporito stated (684 F.Supp.2d at 1063): The Declaratory
      Judgment Act allows a party to bring a lawsuit based on a reasonable apprehension
      that it will be sued. DeBartolo v. Healthsouth Corp., 569 F.3d 736, 741 (7th
      Cir.2009). It is not, however, a vehicle for bringing counterclaims to a suit that has
      already been filed when those counterclaims mirror defenses already raised. “‘It is
      well settled that such repetitious and unnecessary pleadings should be stricken.’”
      United States v. Zanfei, 353 F.Supp.2d 962, 965 (N.D.Ill.2005) (quoting Rayman
      v. Peoples Savings Corp., 735 F.Supp. 842, 851 52 (N.D.Ill.1990)); see also
      Tenneco Inc. v. Saxony Bar & Tube, Inc., 776 F.2d 1375, 1379 (7th Cir.1985).
      Ortho-Tain, 2006 WL 3782916, at *3, dismissed a 28 U.S.C. §2201 based
      counterclaim in part because it was duplicative of some of the defendant’s
      “affirmative defenses.” In Manago v. Auto Owners Ins. Co., 2018 WL 620381
      (N.D. Ind. Jan. 30, 2018), the Court dismissed a counterclaim under FRCP 12(f)
      without addressing the plaintiff’s 12(b)(6) arguments. Id. It did so because FRCP
      12(f) gave the Court the authority to “strike from a pleading ... any redundant,
      immaterial, 46 USDC IN/ND case 2:17-cv-00033-JVB-APR document 183 filed
                                               [10]
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       09/01/21 page 54 of 55 impertinent, or scandalous matter. . . .” Id., *2, discussing
       Cincinnati Specialty, Underwriters Ins. Co. v. DMH Holdings, LLC, 2013 WL
       683493 (N.D. Ind. Feb. 22, 2013); Heller Fin., Inc. v. Midwhey Powder Co., Inc.,
       883 F.2d 1286 (7th Cir. 1989); and Lincoln Nat’l Corp. v. Steadfast Ins. Co., 2006
       WL 1660591 (N.D. Ind. June 9, 2006). In explaining its decision, the Court noted,
       inter alia, defendant’s declaratory judgment request served “no useful purpose”
       because “the controversy ha[d] ‘ripened’ and the uncertainty and anticipation of
       litigation [were] alleviated” by the plaintiff’s lawsuit. Id., at *3, quoting Tempco
       Elec. Heater Corp. v. Omega Eng’g, Inc., 819 F.2d 746, 749 (7th Cir. 1987).
(DE 183, pp. 43-50.)

       5. Allegations of Loss of Educational Opportunity Have Been and Are Ripe.

       Defendants argue that the allegation of loss of educational opportunity is not “ripe” because

John must have Title IX standing. As made clear above, however, Defendants fail to acknowledge

that the Seventh Circuit ruled John has standing and that standing was established as a matter of

both due process and Title IX: “John seeks both money damages and injunctive relief for his

claim under Title IX. Our earlier discussion of his entitlement to injunctive relief for his due

process claim applies equally here [to Title IX].” 928 F.3d at 670. Defendants’ effort to

differentiate and deny injunctive relief under Title IX runs up against the Seventh Circuit’s

rejection of that differentiation and denial.

       Despite the Seven Circuit decision in this case to the contrary, Defendants go to elaborate

lengths to deny that John has standing for loss of educational opportunity, invoking Simic v. City

of Chicago, 851 F.3d 734 (7th Cir. 2017), and Prosser v. Becerra, 2 F.4th 708 (7th Cir. 2021), on

prospective injunctive relief that real and imminent injury is required. But Defendants are simply

not living in the real world when denying that John has not suffered a real, current and continuing

loss of educational opportunity by his having a sexual misconduct disciplinary record, which is

typically death to an application to another educational institution absent nepotism. It is not a

matter of hypothesizing a future effect on his educational opportunity; the Seventh Circuit’s



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approach recognizes that the sexual misconduct disciplinary record would result in current and

future harm. 928 F.3d at 666.

       Defendants’ effort to refer to its holding of disciplinary file as “archival” is disingenuous

and misleading. Disclosure requirements for employers, the federal government, educational

institutions require reference be made to the sexual misconduct record, and John has a permanent

federal record that continues until an expungement order will obligate change in that record.

       Disciplinary disenrollment documents are part of his “permanent federal record” per the

Navy Rules for Officer Development (“ROD”) (DE 208-3) section 6-16 (pp. 6-26 – 6-27):

                    c. Disciplinary disenrollments become a matter of permanent
             federal record and may prejudice the individual for future military or
             civil employment. Disciplinary disenrollments may be disqualifying for
             future federal security clearances that are often necessary for positions
             in private industry. Disciplinary disenrollments may be prejudicial to
             their interests should they ever apply for a commission in the Armed
             Forces. . . .

Should John re-apply to the Navy ROTC or to any commission in the U.S. Armed Forces or to any

position in the federal government, he would be honor-bound to disclose the disciplinary

disenrollment that is part of his permanent federal record and if he did not and it were inevitably

discovered in a mandatory background check, termination would be expected. (DE208-1 ¶ 9.)

The permanent federal record exists only as a result of the university disciplinary case (DE209,

pp. 8-9); the Navy did not conduct its own investigation but relied 100% on the university

disciplinary suspension. (DE187-2, pp. 23-27 and record citations therein.) Accompanying this

Memorandum of Law as Exhibit D are the Navy ROD.

       6. Expungement Would Redress Harm To John.

       Defendants continue its war with Judge Barrett’s Seventh Circuit opinion in this case by

arguing that expungement would not redress harm to John. Yet again. Defendants do not disclose

to this Court what the Seventh Circuit said about this subject:

                                                [12]
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       In his response to the defendants’ motion to dismiss, and then again in his brief and
       at oral argument, John argued that he is also entitled to an injunction ordering
       university officials to expunge the finding of guilt from his disciplinary record.
       For this relief, John has standing. See, e.g., Flint v. Dennison, 488 F.3d 816, 825
       (9th Cir. 2007) (pursuing expungement of university records ‘‘serve[s] the
       purpose of preventing present and future harm’’); Doe v. Cummins, 662 F.
       App’x 437, 444 (6th Cir. 2016) (seeking to ‘‘remove the negative notation from
       appellants’ disciplinary records’’ is ‘‘nothing more than prospective remedial
       action’’); Shepard v. Irving, 77 F. App’x 615, 620 (4th Cir. 2003) (an ‘‘F’’ grade
       and a plagiarism conviction ‘‘constitute[d] a continuing injury to the plaintiff’’ and
       an action to remove them was ‘‘prospective in nature’’). And he claims that if the
       guilty finding is expunged, a career in the Navy may once again be open to him.

928 F.3d at 666; emphasis supplied. And as noted above, Judge (now Justice) Barrett’s opinion

for the Seventh Circuit states: “we instruct the court to address the issue of expungement on

remand.” 928 F.3d at 667. Defendants’ various arguments that a federal court cannot order

expungement are flatly contrary to the precedent of the Seventh Circuit, Elliott v. Hinds, 786 F.2d

298, 302 (7th Cir. 1986), and other courts, Application of Ex Parte Young has been widely

recognized to authorize injunctive relief to clear a student’s academic record: Doe v. Cummins,

662 F. App’x 437, 444 (6th Cir. 2016); Flint v. Dennison, 488 F.3d 816, 825 (9th Cir. 2007);

Shepard v. Irving, 77 F. App’x at 620; Thomson v. Harmony, 65 F.3d 1314, 1321 (6th Cir. 1995);

Johnson v. Western State Colorado University, 71 F. Supp.3d 1217, 1230 (D. Colo. 2014).

       As noted above, while expungement does not change the fact that John has served the

suspension, it does free John from disclosure requirements to employers (including the federal

government) or schools other than Purdue, provide the basis for eliminating what otherwise will

be a permanent federal record showing a suspension for sexual misconduct, and make possible

future opportunities that would be cut off by the disclosure of (an albeit erroneous) sexual

misconduct sanction.

       Defendants’ argument about current DOE required procedures, 34 CFR 106.45 (p. 7 n. 2)

must be understood as an attempt to deflect attention away from the grave defects of Purdue’s

disciplinary procedures in John’s case which resulted in Judge Barrett’s scolding about how bad
                                                [13]
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the procedure were: “Purdue’s process fell short of what even a high school must provide to a

student facing a days-long suspension.” 928 F.3d at 663. The summary judgment briefing showed

Purdue procedures to be even worse than alleged. (DE 183.) Alo contrary to Defendants’

unfounded argument about the meris, the summary judgment briefing (DE 187) showed it is John

who has the winning hand. Defendants’ notion that they can transfer the defective result in the

Purdue defective process over to federal court makes no sense. Defendants’ inventive misreading

of 34 CFR 106.45 is off base.

       While a trial record will have the disciplinary file documents, a trial decision in John’s

favor will deprive anyone from reasonably arguing against John’s innocence of what were specious

the sexual misconduct allegations and will be testimony to Defendants’ sham process.

       Finally, one more failure to disclose by Defendants: the notion that John had a meaningful

howed that John option to seek a preliminary injunction against the suspension was orally argued

by Defendants to the Seventh Circuit and Defendants got nowhere with that argument.

                                         CONCLUSION

       For the reasons stated above, the Court should deny Defendants’ motion to dismiss the

Title IX injunctive relief requests and should grant such other and further relief (e.g, sanctioning

Defendants for not disclosing Seventh Circuit rulings contrary to Defendants’ arguments) as the

Court deems just and proper.

Dated: April 8, 2024
                                              Respectfully submitted,
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                                                [14]
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                                CERTIFICATE OF SERVICE

        The undersigned certifies that this document was served by ECF upon the attorneys of
record for each party to the above-entitled cause at the address shown below on April 8, 2024:

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